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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                       
                                August 10, 2016
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 10[th] day of August, 2016.

10-16-00201-CV	JOSE SANCHEZ v. ANITA PIAZZA RIOS STEM - ON APPEAL FROM THE 170[TH] DISTRICT COURT OF McLENNAN COUNTY - TRIAL COURT NO. 2015-138-4  -  DISMISSED - Memorandum Opinion by Justice Davis:

"This cause came on to be considered and because appellant failed to pay or make arrangements to pay the clerk's fee for preparation of the record within the time ordered by this Court and as prescribed by the Texas Rules of Appellate Procedure, it is the opinion of this Court that the appeal should be dismissed; it is therefore ordered, adjudged and decreed that the appeal be, and hereby is, dismissed for want of prosecution.  It is further ordered that appellant pay all costs in this behalf expended and that this decision be certified below for observance."
